Case 2:07-cv-00347-ALA Document1-7 Filed 01/13/07. Page1of 31

EXHIBIT k
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. the County of___ SAN JOAQUIN, | - 4
_ Case 2: 2 20 RAMbaar REAOY Bo ument 1-7 ~ Filed 61/13/07 .. Page 2 of 31 é

ee nf. Sudgment.

_ Commitment to State Prison .

of

’ Dept. No. 6 Case No. 45624 | Basen
The People af the State af California or mets
YD, Hon. STEVEN DEMETRAS
oo + dudge ‘of the Superior Court
Me _____EUAL BLANSETT.

- , Prosecuting Attorney

, JAMES OLIVER MACKEY .
- HAMILTON | HEINZ

Defendant. cr ee Covinse! to? Detendant

This certifies that on the 6 20 aay of NOVEMBER 19 29, indmese of conviction’ “of the above-named. ‘defendant Was

entered as follows:
(1) In-Casé’ No.., 45624 -Count No. ~ -6 he ‘was convicted by. ;-on his ples Of = _ GUILTY

“(eourt or jury)

187 PC. MURDER - 1ST DEGREE -

“aay, not. ‘rullty, former. conviction or. acquittal, Gnce in jeopardy, not puty by reason of- insanity)

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e@ and degre in any, "ipeludiing. fact thatut constitutes a jecond aubsequent convigtion of same offense i that aiects the sentence. }

187 BC _MURDER -1st DEGREE |

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: (dealgnation of etn

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with ptior felony convictions. as’ follows:

_COUNTY AND srATe | “GRIME 2 fs __BISROSITION

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Defendant has been held in ail custody for days as a, result of the same criminal, act or acts for which: ‘he-

has been convicted. = 538. + 269 = 807°) %.
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STATEMENT FOR
. PRISON OFFICIALS

~~ "O00-——
(HE PEOPLE. OF THE STATE ~ )
OF CALIFORNIA, .- . )
. Plaintiff, ) , a,
VS. | ) No. 45624
JAMES OLIVER MACKEY, ) Dept. 5 |
)
)

The abéve- entitled matter came on regularly

|. for: hearing on ‘TUESDAY, NOVEMBER. 20, 1990 at the hour’ of

93 25 A.M. thereof before HON. STEPHEN G, DEMETRAS, Judge of
the Superior Court of the State of California, in and for

the County of San Joaquin.

APPEARANCES OF COUNSEL:
EUAL BLANSETT , Deputy District Attorney,
County of San Joaquin, 222 E. Weber Ave., ond Floor,
Stockton, california 95202, appeared as counsel for and on
behalf of the PEOPLE.

HAMILTON L. HINTS , UR, Attorney at Law

‘County of San Joaqyin,;~901"H" street, Suite 301 Sacramento.

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ATTEST _ eo -F /
’ JEANNE MJLLSAPS Clerk af the Superior Court
: in and:for the County of

SBLES, C.S.R. No. 4621 Senoonin,Sieot colonia
By Ce

“California 598/
THE DEFENDANT.

Reported by:

i/Denuty

SUPERIOR COURT REPORTERS STOCKTON, CALIFORNIA (209) 468-2840

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: Honor?

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Case 2:07-cv-00347- ALA ‘Document 1-7 Filed 01/13/07:. Page 5 of. 31 2

(All parties’ present, the following proceedings
were | had: }.. .
THE COURT: People versus James Mackey.
MR. HINTZ: Morning, Your Honor.
THE COURT: All right. Mr. Mackey is present.

Mr. Hintz -is present. There is a probation report on

, Today’ s the date for pronouncement of judgment...
. MR. BLANSETT: Have you had the probation

officer's report the sufficiently required days, Your

MR. HINT: ‘I have, Your Honor.
 Twe read it.and supplied a copy to Mr. Mackey.

THE COURT: Are. there any corrections ox
additions on-his behalf you wish to make to the ‘report? _
MR. HINTZ: No. .

THE COURT: Mr. Blansett, any corrections or

additions you wish to make to the report. on behalf of the

District Attorney’s office?

MR. BLANSETT:' No, Your Honor, except that

Mr. Phillips has. written a letter that he will be sending to.

the department of corrections. He would ask that that letter

be attached as a letter to the probation report, just to

make sure that the letter follows Mr. Mackey wherever he . —

goes because I know the probation report will.

THE COURT: If you'll provide that for me
within the next day then it will go along with it.

| MR. BLANSETT: Okay. _

SUPERIOR COURT REPORTERS STOCKTON, CALIFORNIA’ (209) 468-2840

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Case 2:07-cv-00347-ALA ‘Document 17 Filed 01/13/07 Page.6 of a1*

THE COURT: All tight.
Mr. Mackey did not plead - in froht of me. So he has a.

right to have Judge: Cruikshank sentence. him, if he. wishes.

If he waives that right, I* ‘m willing to abide by the Plea

bargain, which was for the indeterminate term.

MR. HINTZ: He’ s willing to. waive the
gentencing before the. judge that the: plea. was made.
‘THE COURT: Is that your wish, Mr. Mackey?
“THE DEFENDANT: Yes,- sir. .
THE: COURT: Mr. Hints, is there any legal
cause then why judgment should not now: be pronounced? .
MR. HINTZ : No,. Your Honor.

THE COURT: In this matter the specified

punishment! for the plea to murder in’ the’ first degree was to

be the indeterminate term in state prison: of 25) years to

life. And I will impose that state prison term pursuant to

‘the indeterminate statutes.

Me. Mackey has credit against the term. just ‘imposed of
538 actual days plus conduct credits on top of that.
He’ ll be remanded then to serve the ‘balance of that

term.

SUPERIOR COURT REPORTERS STOCKTON, CALIFORNIA (209) 468-2840

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Case 2:07-cv-00347-ALA . Document 1-7 ‘Filed 01/13/07 .. Page 7 of 31 4

STATE OF CALIFORNIA y-.
)- “Ss.-
COUNTY. OF SAN JOAQUIN: )

or EMELIA, ROBLES, Official. Court Reporter of
the Superior Court of the State of California, in and for
the County of San Joaquin, - do hereby certify; .
, That I. was present in the Superior Court of
the State of California, in and for the County of San _
Joaquin, at the time of: the proceedings had in the

above-entitled matter; that at said time and place. I took

down in shorthand notes all the testimony, given and

proceedings. had, and that rT thereafter caused said shorthand
notes to be transcribed by: computer“aided transcription, the

above and foregoing being a full, true _ and correct |

‘transcription thereof, and a full, true ‘and. correct

. transcript of all testimony taken ‘and proceedings had.

eh = Pity Z

Official Court Reporter, c.S.R. No. 4621

SUPERIOR. COURT REPORTERS STOCKTON, CALIFORNIA (209) 468-2840

Case 2:07-cv-00347-ALA Document1-7 Filed 01/13/07. Page 8 of 31

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N.Y.C. Area Phone: 718-745-1642
Toll Free Number: 1-866-235-1080 (PIN 5580)

"NUGENT ASSOCIATES
Official EPA Section 608 Refrigerant Certification Provider HVAC TRAINING PROGRAMS

. HVAC Training Classes & Seminars

EPA SECTION 608 CERTIFICATION TEST REPORT

~ June 29, 2004

"James O. Mackey
613 Lupton ,
Manteca, CA 95337:

Dear Mr. Mackey:’ 7

Here are the results of the EPA Certification test(s) you took June 24, 2004, Listed
are the test scores for each test taken and the Certification Type(s) you attained. —

‘TEST SCORES: "CORE: 96
oe TYPEI: 96
TYPE H: 96

TYPE I: 96

CERTIFICATION TYPE ATTAINED: ‘UNIVERSAL |

Please note that you must receive a minimum mark of 72% to pass each of the above test
Types. The CORE section MUST BE PASSED plus one or more of the Specific TYPES:
I, Il, IMI to gain any certification. If you did not qualify for the rating you were aiming
for, you may retake the failed-part(s) of the test at your local authorized EPA testing site.
The official Proctor to contact for further information is:

Nugent Associates at above addrss

NOTE: Certification cards can be easily misplaced in the years ahead. Please make a note of
. your ID number in case of a lost card. Your ID # is: 062404081264

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~ Director of Training
_ STATE OF CALIFORNIA

Creekside Adult School

Certifi cate of Achievement

awarded to

James Mackey

who is hereby honored and commended for completing the following certification unit(s)

Business Management and Job Preparation —
02. 07. 26,27

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Date

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Instructor

Certificate Log # 09240482018

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Creekside Adult School
ertificate of Achievement

James Mackey ©

who is hereby honored and commended for completing the following certification unit(s)

-Gas/Electric/Solar Heatin

-V02.07.21, 22,.23 |

07/28/04
Date

Instructor

STATE OF CALIFORNIA

‘Creekside Adult School

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who is her eby honored and commended for completing the following certification unit(s) ©

Comfort Cooling and Heat Pumps

V02.07.19,.20

09/22/04
Date

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0395000899

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STATE OF CALIFORNIA

Creekside Adult School

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James Mackey —

who is hereby honored and commended for completing the following certification unit(s)
Commercial and Industrial Refrigeration
V02.07.17,.18,

09/22/04
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Instructor

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STATE OF CALIFORNIA

Creekside Adult School. .

ificate of Achievement

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James Mackey

who is hereby honored and commended for completing the following certification unit(s)
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09/24/04. -
Date

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STATE OF CALIFORNIA

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James Mackey ©

who is hereby honored and commended for completing the following certification unit(s)
So ° . e. . _@
Domestic Refrigeration -
V02.07.15

07/28/04
Date

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Certificate Log # 7280482018

STATE OF CALIFORNIA

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James lackey

who is hereby honored and commended for completing the following certification unit(s) .

Basic Refrigeration
V02.07.05,.06,.09,.1 1,.12,.13 .

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‘who is hereby honored and commended for completing the following certification unit(s)

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James

CALIFORNIA DEPARTMENT OF CORRECTIONS

MULE CREEK STATE PRISON

Certifies That

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has actively participated in the

“HOUSES OF HEALING”

ANGER MANAGEMENT

April 25,2001

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iM. MERRITT, CC I

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Case 2:07-Cv-00347-ALA © Document 1-7 Filed 01/t3/07 Page 20 of 31

- ‘COLLEGE EDUCATION PROGRESS REPORT

| ATTITUDES

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; Effort GENERAL OBSERVA. 48: . ,
one Inmate JAMES MACKEY, E-76532, has successfully completed the
initiati . PARALEGAL. FOUNDATION COURSE bY correspondence, offered through
1uative PROFESSIONAL CAREER DEVELOPMENT INSTITUTE. He received a cumulative

grade of 96. This information was taken from a letter verification
dated 4/6/04.

' Education

_ Writer
Inmate
SUBJECT "GRADE SEM. UNITS GUAR. UNITS DATE (FROM/TOI fos nouns Oo aM.
PARALEGAL FOUNDATION COURSE "96" — 7/23/03 through’ 4/6/04 O pM..
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MACKEY - JAMES © E~76532 By: M. Moreno, Coll. Brn MCSP

DATE June—9., 2004

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JF. Nugent, Director of Training

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Thomas J. de Vries

President, Crossroad Bible Institute

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this tis certifies tat

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fas graduated. ‘from the tier one course

GREAT TRUTHS OF THE BIBLE

August 6, 1998

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VOLUNTEER TUTOR WORKSHOP ~
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This is to recognize that ___JAMES_MACKEY

E . has satisfactorily completed a__12_ hour workshop with emphasis on tutoring
tk q  —titeracy sponsored by a Laubach Literacy Action member program,

and /or conducted by an ELA certified trainer.

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BY

SUPERIOR COURT OF CALIFORNIA, COUNTY OF SANSIOAQUIN

In the Matter of the Petition of

JAMES MACKEY CASE NO. SC045624A

For Writ of Habeas Corpus. ORDER

TO: JAMES MACKEY, Petitioner:
It appearing that a petition for Writ of Habeas Corpus was filed herein on February

006, and good cause appearing therefor, IT 1S HEREBY ORDERED THAT the Petition

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for Writ of Habeas Corpus is DENIED for the reasons that follow.

~ Reason: Following entry of a no contest plea, petitioner was convicted of first
degree murder. On November 20, 1990, he was given an agreed-upon sentence of 25
years-to-life. As part of his plea agreement, a contract was executed which required
petitioner to cooperate and give truthful testimony in another case arising out of the
murder. Among the provisions of the contract was the following:

“6. District Attorney John D. Phillips shall personally write a letter
to the Board of Prison Terms and or the California Department of
Corrections recommending that James Oliver Mackey ... be released at the
earliest possible time upon having served the minimum sentence for first
degree murder. California Law now provides that the indeterminate
sentence for first degree murder is 25 years to life. It is believed that the
earliest possible release date for a person so convicted of first degree
murder is two thirds of the minimum or sixteen years eight months.
However, the actual release date will be determined by the Board of Prison
Terms or its equivalent agency.” [Exhibit “C” to petition, 2:4-15.]

Also on November 20, 1990, Mr. Phillips sent a letter to the Department of
Corrections enclosing a copy of the agreement. In relevant part, the letter reads as

follows:

“The purpose of this letter is to honor that agreement and commitment
to Mr. Mackey and his attorney: to comment upon the extraordinary
cooperation of Mr. Mackey; and to clarify that, without the cooperation and

Page 1 of 3
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against Michael Batt nor a prosecution initiated. ” [Exhibit ‘D” to petition,
page 1. Underlining in original.]

“It is our recommendation that Mr. Mackey be released on parole
upon having served the minimum sentence for first degree murder, that is,
two-thirds of the minimum (or sixteen years, eight months), providing that he
has been a good prisoner.

“In this regard, it is our observation and belief that Mr. Mackey will do
his time without incident or problems. He is intelligent and highly educated;
has no prior criminal history’ is not generally criminally oriented; and he
should interact well with prison management and staff. ...” [/d., at page 2.]

Petitioner received his fist parole consideration hearing on May 6, 2005. At the
hearing, the panel was presented with both the agreement and the letter from Mr. Phillips.

Among those persons appearing at the hearing was Eual Blansett Jr, a San
Joaquin County Deputy District Attorney. Petitioner contends that Mr. Blansett’s comments
at the hearing violated the plea agreement and necessitate its rescission.

The court has reviewed the transcript of the hearing and finds that Mr. Blansett’s
comments were not interpreted by the hearing panel as unfavorable to petitioner. In fact,
the presiding commissioner, in reading the decision, stated as follows:

“(Mr. Blansett] appeared today and actually he did not present an
objection. He was neutral. He just appeared as an observer basically. So
he didn’t voice his opinion in terms of your suitability one way or the other
from what | gathered from speaking to him.” [Hearing transcript, 128:18-24. ]

Further, at the outset of the hearing Mr. Blansett stated as follows:

“| think Mr. Phillips who was the Deputy DA at the time that | was
doing both trials in this case made an offer to Mr. Mackey that was accepted.
| will — 1 cannot and will not do anything to undermine the letter that was sent
to the Board.” [/d., at 15:27-16:4.]

The fact that Mr. Blansett was merely an observer at the hearing was repeated several
times by both Mr. Blansett and the panel members. Assuming for purposes of this order
that the plea agreement required the District Attorney’s office to make no unfavorable
comments at the hearing, there is no evidence that any comments made by Mr. Blansett
had any effect on the panel’s decision to deny parole. In fact, the panel’s decision to deny
parole is amply supported by the record.

Petitioner also contends that he was led to believe that Mr. Phillips’ letter to the
CDC or the Board would require him to be released after serving the minimum term.
Putting aside the fact that petitioner has produced no evidence whatsoever to support this
fact other than his own contentions, the agreement provided only that Mr. Phillips would
send a letter. This was done. The agreement also expressly states that “However, the
actual release date will be determined by the Board of Prison Terms or its equivalent
agency.” This, too, has been done.

Page 2 of 3
Caskhé: pétitioD tetétAbAails Po sehterth & prima iadacass/or habeagecBipoiszelief.
[In re Bower (1985) 38 Cal.3d 865; 215 Cal.Rptr. 267, 700 P.2d 1269; People v. Jackson
(1980) 28 Cal.3d 264; 168 Cal.Rptr. 603, 618 P.2d.149; and In re Muszalski (1975) 52
Cal.App.3d 500, 125 Cal. Rptr. 286.]

JUDGE OF THE SUPERIOR COURT

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Case 2:07-cv-00347-ALA Document1-7 Filed 01/13/07 Page 31 of 31

Case Name: In re James Mackey on Habeas Corpus
Case No.:
DECLARATION OF SERVICE BY MAIL

Tam employed in the county of Sacramento, State of California. I
am over the age of 18 and not a party to the within action; my business address is:

LAW OFFICE OF BENJAMIN RAMOS
7405 Greenback Lane #287
Citrus Heights, CA 95610-5603

On. G- ZS , 2006, I served the following documents:
PETITION FOR WRIT OF HABEAS CORPUS by placing a true copy thereof into a
sealed envelope with postage thereon, into the United States Mail, addressed as
follows:

Office of the Attorney General
1300 I Street
Sacramento, California 94244-2550

Office of the San Joaquin County District Attorney
222 E. Weber Avenue, Room 202
Stockton, CA 95202

I declare under penalty of perjury under the laws of the State of
California that the above is true and correct.

Executed on G -+ 5 , 2006, at Citrus Heights, California.

c
a

BEAMIN RAMOS

